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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 FEIT ELECTRIC COMPANY, INC. ,

          Plaintiff and Counterclaim-Defendant,    Case No. 13-cv-09339-SJC-SIS

                         v.                        Judge Sharon Johnson Coleman

 CFL TECHNOLOGIES, LLC,                            Magistrate Judge Heather K. McShain

          Defendant and Counterclaim-Plaintiff.


                                    JOINT STATUS REPORT

          Pursuant to the Court’s Order of January 10, 2022, (D.E. 293), the Parties, Feit Electric

Co., Inc. (“Feit Electric”) and CFL Technologies LLC (“CFLT”) hereby submit this Joint Status

Report.

I.        PROGRESS OF DISCOVERY

          The Court has referred this matter to Magistrate Judge McShain to supervise discovery and

settlement, and also to set and adjust discovery deadlines. (D.E. 206, D.E. 210.)

          The parties have produced initial contentions as to both the ’140 and ’464 Patents. For

example, Beacon (prior to CFLT’s substitution) served, on May 23, 2018, its initial infringement

contentions for the ’140 Patent pursuant to LPR 2.2. On June 18, 2018, Feit Electric served its

initial non-infringement contentions, and initial unenforceability and invalidity contentions, both

pursuant to LPR 2.3. Further, on September 29, 2021, CFLT served its infringement contentions

for the ’464 Patent pursuant to LPR 2.2. On October 13, 2021, pursuant to LPR 2.3, Feit Electric

served its initial non-infringement contentions, and initial unenforceability and invalidity

contentions. On October 27, 2021, pursuant to LPR 2.5(a), CFLT served its Initial Response to

Feit Electric’s Invalidity Contentions.

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         The parties have also exchanged some discovery requests. Thus far, CFLT has produced

over 120,000 pages of documents (with yet additional production expected tomorrow), and offered

for inspection and/or duplication paper documents relating to prior licensees of the patents-in-suit,

Feit Electric and another company (Osram Sylvania, Inc.), which had been sued for infringement

of the patents-in-suit. CFLT has informed Feit Electric that it has on the order of 100 boxes of

physical documents and a physical compact fluorescent lamp protype for Feit Electric’s inspection,

and the parties are discussing dates for such an inspection.

         Feit Electric has also served a production pursuant to LPR 2.4, and is continuing to prepare

additional productions pursuant to the Court’s Local Rules for Patent cases. Feit Electric has also

served several third party subpoenas. On February 3, 2022, Feit Electric served its first 30(b)(6)

Notice to CFLT covering seventeen (17) topics. That same day, Feit Electric also served subpoenas

for documents and the deposition of Mr. Dale Fiene, an individual listed on CFLT’s Rule 26(a)

initial disclosures as having information relating to “Patent claims and patent assertion history.”

The parties are in discussions regarding the timing of production and dates for these depositions.

         The parties continue to engage in discovery on numerous topics and, while the process is

ongoing, anticipate completion of fact discovery by the current deadline of October 20, 2022.

         No depositions have been conducted and expert discovery has not yet begun.

II.      STATUS OF SETTLEMENT DISCUSSIONS

         The Parties remain open to settlement but remain too far apart in principle for substantive

discussions at this juncture to be productive. That said, the parties have begun discussions

regarding the effects of Judge Richard Andrews’ January 21, 2022 claim construction ruling on

the ’140 and ’464 patents in CFL Techs. v. Osram, 18-1445-RGA (D. Del.). The parties expect to

continue those discussions and will apprise the Court on the status of such discussions in their next



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status report, currently due to be filed with the Court by March 11, 2022. (D.E. 296). The parties

anticipate that the ’464 Patent will be withdrawn in a manner that preserves appellate rights, but

those discussions are ongoing. Partly in order to facilitate such discussions, on February 22, 2022,

the parties jointly moved to extend the prior deadlines for the exchange of final contentions, as

well as some initial claim construction deadlines, by two weeks (D.E. 294), and on February 24,

2022, this Court granted that motion. (D.E. 295).

III.   OTHER ISSUES

       While the parties may have other discovery disputes in the future, the Parties have been

largely focused on exchanging final contentions for both patents-in-suit, due to be served on March

9, 2022 (D.E. 295), and on continuing discussions pursuant to the Court’s February 25, 2022 order

(D.E. 296). In light of this, the Parties do not yet believe that such other potential disputes are ripe

for resolution by this Court. For example, the Parties would still need to complete the meet and

confer process for any such disputes.




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Dated: February 28, 2022

Respectfully submitted,

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                                CERTIFICATE OF SERVICE
       The undersigned certifies that on February 28, 2022, I electronically filed the JOINT

STATUS REPORT with the Clerk of Court using the CM/ECF system, which will then send a

Notification of Electronic Filing (“NEF”) to all counsel of record.

                                                     /s/ Simeon G. Papacostas

                                                     An attorney for Feit Electric Company, Inc.




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